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                                                                            Settlement/Hearing:​ ​September​ ​28,​ ​2017
                                                                                                    ​ ​Time:​ ​9:30​ ​A.M.

UNITED​ ​STATES​ ​BANKRUPTCY​ ​COURT
FOR​ ​THE​ ​NORTHERN​ ​DISTRICT​ ​OF​ ​NEW​ ​YORK
-------------------------------------------------------------X

In​ ​re
                     Edward​ ​F.​ ​Miller                                                  ​ ​ ​Case​ ​No.:​ ​17-60023-6-dd

                                    ​ ​ ​ ​ ​Debtor.                                       ​ ​ ​Chapter​ ​7
-------------------------------------------------------------X

    DEBTOR’S​ ​RESPONSE​ ​TO​ ​TRUSTEE’S​ ​SUPPLEMENTAL​ ​SUBMISSIONS​ ​ON
   MOTION​ ​TO​ ​DISMISS​ ​DEBTOR’S​ ​CHAPTER​ ​7​ ​CASE​ ​PURSUANT​ ​TO​ ​11​ ​U.S.C.
 §707(a)(1)​ ​FOR​ ​FAILURE​ ​TO​ ​APPEAR​ ​AT​ ​11​ ​U.S.C.​ ​§341(a)​ ​MEETING,​ ​FAILURE​ ​TO
  COOPERATE​ ​WITH​ ​THE​ ​TRUSTEE,​ ​AND,​ ​IN​ ​THE​ ​ALTERNATIVE,​ ​TO​ ​EXTEND
               TIME​ ​TO​ ​FILE​ ​COMPLAINT​ ​FOR​ ​DENIAL​ ​OF​ ​DISCHARGE


          COMES​ ​NOW​ ​Edward​ ​F.​ ​Miller​ ​(the​ ​“​Debtor​”),​ ​through​ ​his​ ​counsel,​ ​Irene​ ​Costello,​ ​files

a​ ​Response​ ​to​ ​Trustee’s​ ​Supplemental​ ​Submission​ ​on​ ​ ​Motion​ ​to​ ​Dismiss​ ​the​ ​Debtor’s​ ​Chapter​ ​7

Case​ ​and​ ​Objection​ ​Sonic​ ​Arts​ ​Entertainment​ ​LLC’s​ ​(the​ ​“​Creditor​”)​ ​Response​ ​to​ ​the​ ​Trustee’s

Motion​ ​to​ ​Dismiss​ ​Case​ ​Pursuant​ ​to​ ​11​ ​U.S.C.​ ​§​ ​707(a)(1)​ ​for​ ​Failure​ ​to​ ​Appear​ ​at​ ​11​ ​U.S.C.

§341(a)​ ​Meeting,​ ​Failure​ ​to​ ​Cooperate​ ​with​ ​the​ ​Trustee,​ ​and,​ ​in​ ​the​ ​Alternative,​ ​to​ ​Extend​ ​Time

to​ ​File​ ​Complaint​ ​for​ ​Denial​ ​of​ ​Discharge​,​ ​(the​ ​“​Motion​ ​to​ ​Dismiss​”),​ ​and​ ​in​ ​support​ ​thereof

now​ ​states:

          1. Upon,​ ​the​ ​oral​ ​argument​ ​on​ ​August​ ​24,​ ​2017,​ ​the​ ​Court​ ​adjourned​ ​the​ ​trustee’s

                motion,​ ​for​ ​the​ ​purpose​ ​of​ ​additional​ ​legal​ ​support​ ​for​ ​the​ ​trustees​ ​request​ ​to​ ​dismiss,

                and​ ​allowed​ ​the​ ​Debtor​ ​as​ ​well​ ​to​ ​file​ ​memorandum.




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            2. The​ ​Trustee​ ​does​ ​correctly​ ​state​ ​that​ ​the​ ​Debtor​ ​did​ ​not​ ​meet​ ​the​ ​deadlines​ ​for

                  submission​ ​of​ ​additional​ ​documents.​ ​However,​ ​the​ ​Debtor​ ​explained​ ​at​ ​that​ ​time​ ​that

                  not​ ​all​ ​schedules​ ​that​ ​needed​ ​amendments​ ​were​ ​filed​ ​because​ ​the​ ​Debtor​ ​was​ ​working

                  to​ ​make​ ​sure​ ​they​ ​were​ ​not​ ​inaccurate​ ​or​ ​incomplete.​ ​ 1​

            3. Counsel​ ​for​ ​the​ ​Debtor​ ​has​ ​since​ ​left​ ​the​ ​firm​ ​of​ ​Shipkevich,​ ​PLLC​ ​and​ ​in​ ​the​ ​transfer

                  did​ ​have​ ​an​ ​issue​ ​with​ ​not​ ​having​ ​on​ ​the​ ​calendar​ ​the​ ​341​ ​scheduled​ ​for​ ​September

                  11,​ ​2017.

            4. As​ ​of​ ​this​ ​filing​ ​Counsel​ ​has​ ​now​ ​filed​ ​an​ ​Amended​ ​Statement​ ​of​ ​Financial​ ​Affairs

                  which​ ​the​ ​Debtor​ ​believes​ ​to​ ​be​ ​the​ ​last​ ​filing​ ​required​ ​to​ ​fix​ ​all​ ​deficiencies​ ​with​ ​his

                  schedules.

                                                               LEGAL​ ​ANALYSIS

      A. The​ ​Trustee’s​ ​Motion​ ​to​ ​Dismiss​ ​Cannot​ ​be​ ​Granted​ ​for​ ​Cause​ ​Under​ ​11​ ​U.S.C.

            §707(a)(1).

            A​ ​court​ ​exercises​ ​substantial​ ​discretion​ ​in​ ​determining​ ​a​ ​motion​ ​to​ ​dismiss​ ​under​ ​Section

707(a).​ ​In​ ​re​ ​Smith,​ ​507​ ​F.3d​ ​64​ ​(2d​ ​Cir.​ ​2007)..​ ​ ​However,​ ​the​ ​Trustee’s​ ​Motion​ ​to​ ​Dismiss

seeks​ ​dismissal​ ​pursuant​ ​to​ ​11​ ​U.S.C.​ ​§707(a)(1),​ ​which​ ​states,​ ​“​The​ ​court​ ​may​ ​dismiss​ ​a​ ​case

under​ ​this​ ​chapter​ ​only​ ​after​ ​notice​ ​and​ ​a​ ​hearing​ ​and​ ​only​ ​for​ ​cause,​ ​including--​ ​(1)

unreasonable​ ​delay​ ​by​ ​the​ ​debtor​ ​that​ ​is​ ​prejudicial​ ​to​ ​creditors.”​ ​The​ ​party​ ​bringing​ ​the​ ​motion

to​ ​dismiss​ ​bears​ ​the​ ​burden​ ​of​ ​proving​ ​cause.​ ​In​ ​re​ ​Ventura,​ ​375​ ​B.R.​ ​at​ ​108​ ​(citing​ ​In​ ​re​ ​Horan,



1
 ​ ​Further,​ ​counsel​ ​for​ ​the​ ​Debtor​ ​believes​ ​certain​ ​statements​ ​claimed​ ​to​ ​be​ ​inconsistent​ ​in​ ​the​ ​schedules​ ​by​ ​Creditors
counsel​ ​were​ ​not​ ​actually​ ​inconsistent.​ ​These​ ​claims​ ​seemed​ ​to​ ​be​ ​based​ ​on​ ​statements​ ​Debtor​ ​made​ ​during​ ​the​ ​2004
Examination​ ​conducted​ ​by​ ​Sonic​ ​Arts,​ ​which​ ​were​ ​mischaracterized​ ​and​ ​misstated,​ ​perhaps​ ​because​ ​of​ ​a
misunderstanding​ ​that​ ​the​ ​petition​ ​reflect​ ​the​ ​estate​ ​at​ ​the​ ​time​ ​of​ ​the​ ​filing​ ​of​ ​the​ ​case.​ ​Nonetheless,​ ​the​ ​statements
are​ ​not​ ​a​ ​part​ ​of​ ​the​ ​record​ ​of​ ​this​ ​case.​ ​Counsel​ ​for​ ​the​ ​Debtor​ ​objected​ ​to​ ​the​ ​reference​ ​to​ ​the​ ​2004​ ​examination​ ​on
the​ ​record​ ​as​ ​it​ ​has​ ​no​ ​bearing​ ​on​ ​Trustee’s​ ​motion​ ​to​ ​dismiss​ ​and​ ​was​ ​done​ ​solely​ ​to​ ​harass​ ​the​ ​Debtor.
                                                                                                                                                                2
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304​ ​B.R.​ ​42,​ ​46-48​ ​(Bankr.​ ​D.​ ​Conn.​ ​2004)).​​ ​The​ ​Trustee​ ​still​ ​ ​has​ ​not​ ​ ​provided​ ​any​ ​evidence

that​ ​any​ ​creditor​ ​of​ ​the​ ​Debtor​ ​has​ ​suffered​ ​any​ ​actual​ ​prejudice​ ​beyond​ ​that​ ​which​ ​would​ ​be

experienced​ ​by​ ​any​ ​creditor​ ​who​ ​is​ ​stayed​ ​from​ ​collecting​ ​a​ ​debt.2​ ​Thus,​ ​the​ ​Trustee​ ​has​ ​not​ ​met

his​ ​burden.

             Unlike,​ ​the​ ​instant​ ​case​ ​in​ ​In​ ​re​ ​Ventura​ ​the​ ​Debtor​ ​refused​ ​to​ ​comply​ ​with​ ​the​ ​United

States​ ​Trustee’s​ ​request​ ​for​ ​an​ ​audit.​ ​In​ ​re​ ​Ventura,​ ​375​ ​B.R.​ ​at​ ​108.​The​ ​Trustee​ ​also​ ​cites​​ ​In​ ​Re

Rust,​ ​ ​and​ ​ ​focuses​ ​on​ ​the​ ​the​ ​fact​ ​that​ ​the​ ​Debtor​ ​did​ ​not​ ​attend​ ​scheduled​ ​Section​ ​341​ ​Meetings

of​ ​Creditors,​ ​however,​ ​at​ ​all​ ​times​ ​Mr.​ ​Vassallo​ ​had​ ​told​ ​the​ ​Debtor​ ​that​ ​these​ ​had​ ​been

rescheduled​ ​on​ ​the​ ​request​ ​of​ ​the​ ​trustee.​ ​Thus,​ ​the​ ​facts​ ​of​ ​these​ ​cases​ ​are​ ​distinguishable

because​ ​the​ ​Debtor​ ​did​ ​not​ ​know​ ​his​ ​appearance​ ​was​ ​required​ ​at​ ​these​ ​meetings​ ​and​ ​made​ ​efforts

to​ ​try​ ​and​ ​comply​ ​with​ ​the​ ​code​ ​and​ ​appear​ ​but​ ​they​ ​were​ ​thwarted​ ​by​ ​the​ ​misrepresentations​ ​of

Attorney​ ​Vassallo.​ ​See​ ​In​ ​re​ ​Rust​,​ ​1​ ​B.R.​ ​656,​ ​657​ ​(Bankr.​ ​M.D.​ ​Tenn.​ ​1979​).

             On​ ​several​ ​occasions​ ​the​ ​Debtor​ ​had​ ​driven​ ​several​ ​hours​ ​to​ ​attend​ ​the​ ​meetings​ ​only​ ​to

be​ ​called​ ​by​ ​Mr.​ ​Vassallo​ ​at​ ​the​ ​last​ ​minute​ ​and​ ​told​ ​the​ ​meeting​ ​was​ ​rescheduled.​ ​ ​Only​ ​the​ ​last

scheduled​ ​341​ ​was​ ​truly​ ​missed​ ​by​ ​the​ ​Debtor​ ​and​ ​his​ ​counsel,​ ​and​ ​that​ ​was​ ​unintentional.​ ​The

actions​ ​that​ ​have​ ​caused​ ​the​ ​delay,​ ​ ​as​ ​set​ ​out​ ​in​ ​the​ ​facts​ ​herein​ ​and​ ​verified​ ​by​ ​the​ ​declaration​ ​of

the​ ​Debtor​ ​attached​ ​to​ ​the​ ​Debtor’s​ ​prior​ ​objection,​ ​were​ ​the​ ​actions​ ​of​ ​Attorney​ ​Vassallo.

Dismissal​ ​should​ ​not​ ​be​ ​used​ ​as​ ​a​ ​sanction​ ​to​ ​punish​ ​Debtors,​ ​and​ ​especially​ ​not​ ​for​ ​bad​ ​acts​ ​of

their​ ​counsel.

             ​ ​Furthermore,​ ​the​ ​Trustee​ ​suggests​ ​that​ ​he​ ​cannot​ ​determine​ ​the​ ​Debtor’s​ ​assets​ ​and

liabilities.​ ​This​ ​is​ ​disingenuous​ ​when​ ​the​ ​Trustee​ ​was​ ​present​ ​for​ ​a​ ​six​ ​hour​ ​interview​ ​wherein


2
 ​ ​Sonic​ ​Arts​ ​is​ ​also​ ​clearly​ ​not​ ​prejudiced​ ​by​ ​the​ ​delay,​ ​in​ ​its​ ​response​ ​it​ ​was​ ​not​ ​seeking​ ​to​ ​join​ ​in​ ​the​ ​dismissal​ ​of
the​ ​case​ ​but​ ​rather​ ​to​ ​extend​ ​the​ ​time​ ​to​ ​request​ ​a​ ​2004​ ​examination.The​ ​Debtor​ ​is​ ​also​ ​concerned​ ​that​ ​Sonic​ ​Arts
has​ ​taken​ ​actions​ ​to​ ​collect​ ​its​ ​debts​ ​in​ ​violation​ ​of​ ​11​ ​U.S.C.​ ​§362.
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the​ ​Debtor​ ​went​ ​through​ ​several​ ​months​ ​of​ ​his​ ​bank​ ​statements​ ​line​ ​by​ ​line,​ ​every​ ​item​ ​in​ ​his

possession​ ​and​ ​described​ ​in​ ​painstaking​ ​detail​ ​the​ ​nature​ ​and​ ​liabilities​ ​of​ ​his​ ​business​ ​endeavors.

The​ ​very​ ​fact​ ​that​ ​this​ ​did​ ​not​ ​complete​ ​the​ ​examination​ ​points​ ​to​ ​the​ ​volume​ ​of​ ​the​ ​information

that​ ​is​ ​being​ ​requested,​ ​not​ ​all​ ​of​ ​which​ ​is​ ​even​ ​relevant​ ​to​ ​this​ ​filing;​ ​but​ ​is​ ​nonetheless​ ​being

produced​ ​at​ ​the​ ​best​ ​pace​ ​that​ ​the​ ​Debtor​ ​and​ ​counsel​ ​can​ ​manage.​ ​The​ ​Trustee​ ​has

acknowledged​ ​that​ ​he​ ​has​ ​received​ ​volumes​ ​of​ ​information​ ​that​ ​were​ ​too​ ​much​ ​to​ ​review.

Debtor’s​ ​counsel​ ​has​ ​had​ ​difficulty​ ​pairing​ ​down​ ​this​ ​information​ ​to​ ​adequately​ ​disclose​ ​what​ ​is

needed​ ​in​ ​a​ ​manageable​ ​format.​ ​Nonetheless,​ ​the​ ​information​ ​has​ ​been​ ​provided​ ​and​ ​all​ ​the

parties​ ​have​ ​at​ ​this​ ​point​ ​if​ ​not​ ​a​ ​perfect,​ ​a​ ​very​ ​good​ ​idea​ ​of​ ​the​ ​assets​ ​and​ ​liabilities​ ​of​ ​the

Debtor.

           Finally,​ ​it​ ​is​ ​still​ ​not​ ​alleged​ ​that​ ​any​ ​actual​ ​harm​ ​has​ ​occurred.​ ​Further,​ ​the​ ​Debtor​ ​has

already​ ​stated​ ​that​ ​he​ ​would​ ​consent​ ​to​ ​an​ ​extension​ ​of​ ​the​ ​time​ ​allowed​ ​to​ ​object​ ​to​ ​discharge.

Thus,​ ​there​ ​is​ ​no​ ​undue​ ​benefit​ ​to​ ​the​ ​Debtor’s​ ​delay​ ​should​ ​the​ ​Trustee​ ​find​ ​grounds​ ​to​ ​object​ ​to

discharge.​ ​ ​Therefore,​ ​there​ ​is​ ​no​ ​basis​ ​under​ ​11​ ​U.S.C.​ ​707​ ​to​ ​dismiss​ ​this​ ​case.​ ​ ​On​ ​the​ ​facts

and​ ​arguments​ ​before​ ​the​ ​Court,​ ​there​ ​are​ ​no​ ​legal​ ​or​ ​equitable​ ​grounds​ ​to​ ​dismiss​ ​the​ ​Debtor’s

case.

           WHEREFORE,​ ​the​ ​Debtor​ ​respectfully​ ​requests​ ​that​ ​the​ ​Court​ ​deny​ ​the​ ​Trustee’s​ ​Motion

to​ ​Dismiss​ ​the​ ​Chapter​ ​7​ ​case,​ ​or,​ ​in​ ​the​ ​alternative,​ ​that​ ​the​ ​Court​ ​deny​ ​the​ ​Creditor’s​ ​Motion​ ​for

Denial​ ​of​ ​Discharge.​ ​The​ ​Debtor​ ​asks​ ​the​ ​Court​ ​that​ ​he​ ​be​ ​allowed​ ​to​ ​continue​ ​in​ ​his​ ​Bankruptcy

case​ ​and​ ​have​ ​the​ ​opportunity​ ​of​ ​a​ ​fresh​ ​start​ ​that​ ​the​ ​Bankruptcy​ ​Code​ ​provides,​ ​and​ ​for​ ​such

further​ ​relief​ ​as​ ​the​ ​Court​ ​deems​ ​just​ ​and​ ​proper.




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                                                          Respectfully​ ​Submitted,

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